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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DR. NICK TURSE                      )
                                    )
Plaintiff,                          )
                                    )
              v.                    )
                                    )
U.S. DEPARTMENT                     )
OF DEFENSE,                         )
                                    )
OFFICE OF THE SECRETARY             )               Civil Action Number: 1:22-cv-02970
OF DEFENSE/JOINT STAFF              )
                                    )
        and                         )
                                    )
UNITED STATES SPECIAL               )
OPERATIONS COMMAND,                 )
                                    )
        Defendants.                 )
____________________________________)


                                  JOINT STATUS REPORT

       In accordance with the Court’s Standing Order, the parties respectfully submit the

following joint status report:

       The Parties have exchanged proposals concerning reducing or eliminating remaining

issues in this matter. Plaintiff is currently reviewing a draft Vaughn prepared by Defendants.

Accordingly, the Parties request to provide a further Joint Status Report on or before December,

20, 2023.
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Respectfully submitted,


/s/
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